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                             Case No. 19 CV 35 (BKS)(CFH)

                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF NEW YORK



                             MIKE DIEDERICH JR., et al.,

                                                                          Plaintiffs,

                                                   - against -

                             LETITIA JAMES, et al.,

                                                                       Defendants.



                             REPLY MEMORANDUM OF LAW IN FURTHER
                             SUPPORT OF THE MOTION TO DISMISS OF THE
                             CHANCELLOR OF THE NYC DEPARTMENT OF
                             EDUCATION AND BILL DE BLASIO, NEW YORK
                             CITY MAYOR


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                                       Matter No. 2018-075329
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                                PRELIMINARY STATEMENT

               On March 22, 2019, Defendants Chancellor of the NYC Department of Education

(“NYCDOE Chancellor”) and Bill de Blasio, New York City Mayor (“NYC Mayor”),

(collectively, “City Defendants”) moved to dismiss the Amended Complaint of Plaintiff Mike

Diederich and the fictitious minor Doe Plaintiffs in this action on the grounds that (1) pro se

Plaintiff Diederich lacks standing and this action is unripe; (2) Plaintiff Diederich lacks

prudential standing; (3) Plaintiffs’ Amended Complaint violates Rule 8 of the Federal Rules of

Civil Procedure; (4) Plaintiff Diederich cannot bring claims on behalf of other unrepresented and

fictitious minor parties; (5) the Court lacks personal jurisdiction over City Defendants due to

insufficient process and insufficient service of process; and (6) Plaintiffs’ state-law claims fail as

a matter of law.

               On April 15, 2019, Plaintiff Diederich filed his opposition to City Defendants’

Motion and to the motions to dismiss made by the other defendants. (ECF No. 16.) In his

Opposition, Plaintiff Diederich stated that he “had hoped to have one or more Hasidic parents or

children as co-plaintiffs, yet this has not come to pass.” (ECF No. 16, at 2.) Plaintiff Deiderich

then stated that he “withdraws all federal claims contained within the Amended Complaint” and

sought “remand [of] this case back to the N.Y.S. Supreme Court, Albany County . . . .” (ECF No.

16, at 2.) Plaintiff Diederich further stated his intention, on remand to the Supreme Court, to

“withdraw all state law claims . . . with the sole exception being the Thirteenth Cause of Action

seeking injunctive and other taxpayer relief against the N.Y.S. Comptroller . . . .” (Id.)

               In light of Plaintiffs’ response to the Motion, City Defendants respectfully request

that this Court decline to remand any state-law claims, dismiss Plaintiffs’ Amended Complaint in

its entirety, deny any and all relief sought therein, and grant such other and further relief to City

Defendants as the Court deems just and proper.

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                                           ARGUMENT

                                                POINT I

                       PLAINTIFF FAILS TO OPPOSE THE
                       ARGUMENTS     MADE      IN     CITY
                       DEFENDANTS’ MOTION TO DISMISS.

               By stating that he “withdraws all federal claims, because no Hasidic plaintiff has

joined this lawsuit to provide a strong grounds for standing,” (ECF No. 16, at 3,) and by failing

to oppose City Defendants’ arguments regarding his own standing or the ripeness of this action,

Plaintiff Diederich concedes that he lacks prudential standing and that this Court lacks Article III

subject matter jurisdiction over this action.

               Plaintiff also fails to oppose City Defendants’ arguments regarding the prolix and

lengthy Amended Complaint, the inability of Plaintiff Diederich to assert claims on behalf of the

fictitious minor Doe Plaintiffs, Plaintiffs’ insufficient process and insufficient service of process

upon City Defendants, Plaintiffs’ failure to serve a notice of claim upon City Defendants, and

Plaintiffs’ failure to exhaust their administrative remedies before the Commissioner of

Education. The Court should therefore consider City Defendants’ Motion to Dismiss unopposed

and dismiss the Amended Complaint in its entirety for lack of subject matter and personal

jurisdiction. See Levy v. N.Y. State Dep’t of Envtl. Conservation, 297 F. Supp. 3d 297, 316

(N.D.N.Y. 2018) (noting that when a party fails to oppose a motion, the motion “need only have

facial merit” to succeed) (quoting Am. Honda Fin. Corp. v. V.M. Paolozzi Imports, Inc., 10-CV-

0155, 2012 U.S. Dist. LEXIS 198978, at *23 (N.D.N.Y. Mar. 29, 2012)). City Defendants’

Motion has clear facial merit and therefore should be granted.




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                                            POINT II

                      THE COURT SHOULD NOT REMAND THIS
                      ACTION TO STATE COURT.

               As noted, Plaintiff Diederich stated his intention to “withdraw all state law claims

. . . with the sole exception being the Thirteenth Cause of Action seeking injunctive and other

taxpayer relief against the N.Y.S. Comptroller . . . .” (ECF No. 16, at 2) Even if he did not have

such intentions, Plaintiff failed to effectuate adequate service of process on City Defendants

within 120 days of the filing of either the Complaint or the Amended Complaint in the Supreme

Court, as required by New York law. N.Y. C.P.L.R. § 306-b (Consol. 2019). In light of

Plaintiff’s intentions to withdraw the state-law claims against City Defendants and his failure to

serve them properly and in the designated timeframe, a remand of any state-law claims in this

action to the New York Supreme Court would be wasteful of the resources of the parties and of

the New York judiciary and would be futile. The Court should therefore dismiss all claims

against City Defendants.




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                                       CONCLUSION

               WHEREFORE, the Chancellor of the New York City Department of Education

and Bill de Blasio, Mayor of the City of New York, respectfully request that this Court dismiss

Plaintiffs’ Amended Complaint in its entirety, deny any and all relief sought therein, and grant

such other and further relief to NYCDOE Chancellor and the NYC Mayor as the Court deems

just and proper.

Dated:         April 22, 2019
               New York, New York


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